Case: 5:22-cv-01454-CEH Doc #: 32-10 Filed: 03/29/24 1 of 3. PagelD #: 247

EXHIBIT J

Case: 5:22-cv-01454-CEH Doc #: 32-10 Filed: 03/29/24 2 of 3. PagelD #: 248

£% SQUIRRELS

Squirrel, LLC Invoice

121 Wilbur Or NE 00602981

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Singapore 258005
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North Canton, OH 44720
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